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 8                            UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   United States of America                      Case No. MJ24-6166
12               Plaintiff,                        DECLARATION OF JODENE
                                                   EVANS IN SUPPORT OF
13         vs.                                     DEFENDANT’S MOTION FOR
                                                   MODIFICATION OF BOND
14   Ibrahim Ameen Alhusseini                      ORDER
15               Defendant.                        [Filed concurrently with Motion for
                                                   Modification of Bond Order;
16                                                 supporting Declarations]
17                                                 Date:
                                                   Time:
18                                                 Dept:
19                                                 Trial Date:
20
21
22
23
24
25
26
27
28
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      DECLARATION OF JODENE EVANS IN SUPPORT OF MOTION FOR MODIFICATION OF BOND ORDER

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 1               e. Listed at 3.b.4 of the Existing Bond Order, a surety is listed as Lekha
 2                  Singh for $275,000.00.
 3               f. Listed at 3.b.7 of the Existing Bond Order, a surety’s name is listed as
 4                  Wea Nichols for $250,000.00.
 5
 6         4.    I understand that the following amendments to the Existing Bond Order
 7   are requested by defendant, through his counsel:
 8               a. The surety listed at section 3.c.1 (3616 Camp Creek Road,
                    Springfield, OR 97678), signed by Lekha Singh and JoDene Evans,
 9
                    will be signed in the amount of $425,000.00 (reduced from
10                  $850,000.00), and signed by Lekha Singh only.
11               b. Listed under additional properties, the property listed as item (2),
12                  address 4476 West Avenue 42, Los Angeles, CA 90065 will no longer
                    be included in the surety bond.
13
                 c. Listed under additional properties, the property listed as item (3),
14
                    address 1672 Sandy Lily Dr., Golden, CO 80401, will be signed by
15                  Julie Preger for the amount of $125,000.00 (reduced from
                    $250,000.00). The outstanding $125,000.00 will be replaced with a
16
                    bond from a cash surety.
17
                 d. An additional property owned by JoDene Evans, located at 757 Palms
18                  Boulevard, Venice, CA 90291, will be signed for $625,000.00.
19
                 e. The terms of the bond will be modified such that defendant can be
20                  released prior to the completion of appraisals of the following two
21                  properties:

22                      i. 36316 Camp Creek Road, Springfield, OR 97678.
23                     ii. Property located outside the State of California to be signed by
24                         responsible 3rd party approved by the government for the
                           amount of $800,000.00.
25
                              1. The address of this property is 1001 Cooper Ave., Unit 5,
26                               Aspen, CO 81611.
27
28
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      DECLARATION OF JODENE EVANS IN SUPPORT OF MOTION FOR MODIFICATION OF BOND ORDER

                                                                            Case No: MJ24-6166
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                     Exhibit A
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                                                                     #:89
                  UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

     Case Name: United States of America v. Ibrahim Ameen Alhusseini                                    Case No. MJ24-6166
                                                   ■    Defendant         Material Witness

     Violation of Title and Section: 15:78j(b), 78ff, 17 C.F.R. 240.10b-5
                                            Summons          Out of District        UNDER SEAL             Modified Date:

  Check only one of the five numbered boxes below and any appropriate lettered box (unless one bond is to be replaced by another):
  1.    Personal Recognizance (Signature Only)         (c).    Affidavit of Surety With Justification      Release Date:
                                                               (Form CR-3) Signed by:
  2.    Unsecured Appearance Bond                                                                                Released by:
         $                                                  SEE BELOW                                                        /
  3.    Appearance Bond                                     *Property to total $2,000,000                         (Judge / Clerk's Initials)
         $ 3,000,000
                                                                                                                    ■
                                                                                                                 Release to U.S. Probation
       (a).      Cash Deposit (Amount or %) (Form CR-7)                                                                  and Pretrial Services ONLY
                                                                             With Full Deeding of Property:
                                                                                                                         Forthwith Release
                                                                         1.) 36316 Camp Creek Road
       (b).      Affidavit of Surety Without
                 Justification (Form CR-4) Signed by:                    Springfield, OR 97678 signed by
              1) Denmark West $25,000                                    Lekha Singh and JoDene Evans for
                                                                                                                    ■    All Conditions of Bond
              2) Harold Erdman $100,000                                  $850,000                                        (Except Clearing-Warrants
              3) JoDene Evans $100,000                                                                                   Condition) Must be Met
                                                                         (SEE OTHER SECTION FOR                          and Posted by:
              3) Kamal el-Wattar $100,000                                OTHER PROPERTIES)
              4) Lekha Singh $275,000                               Collateral Bond in the Amount of (Cash               Third-Party Custody
                                                            4.
                                                                    or Negotiable Securities):                           Affidavit (Form CR-31)
              5) Rostam Zafari $100,000
                                                                    $                                               ■    Bail Fixed by Court:
              6) Taryn Southern $100,000
                                                            5.      Corporate Surety Bond in the Amount of:         AS              / af
              7) Wea Nichols $250,000
                                                                     $
                                                                                                                         (Judge / Clerk's Initials)
              *CR-4's to total $1,000,000

                                                          PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
        The Court has ordered a Nebbia hearing under § 3142 (g)(4).
        The Nebbia hearing is set for                                        at               a.m.     p.m.

                                                    ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:

 ■    Submit to United States Probation and Pretrial Services supervision as directed by Supervising Agency.
■     Surrender all passports and travel documents to Supervising Agency no later than DATE OF RELEASE                              , sign a Declaration
      re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
      of this case.
■     Travel is restricted to Central District of California                                     unless prior permission is granted by Supervising
      Agency to travel to a specific other location. Court permission is required for international travel as well as for any domestic travel if the
      defendant is in a Location Monitoring Program or as otherwise provided for below.
■     Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.


                                                                                      Defendant's Initials:                 Date:
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                                               ■   Defendant         Material Witness

   ■   Maintain or actively seek employment unless excused by Supervising Agency for schooling, training, or other reasons approved by
        Supervising Agency. Verification to be provided to Supervising Agency.        ■   Employment to be approved by Supervising Agency.
   ■   Avoid all contact, directly or indirectly (including by any electronic means), with any known victim or
       witness in the subject investigation or prosecution, ■ including but not limited to *SEE "OTHER" section
                                                            ;    except for                                                            .
       Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
       of counsel. Notwithstanding this provision, you may have contact with the following codefendants without your counsel present:

                                                                                                                                              .
   ■   Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ■ Surrender any such item as
       directed by Supervising Agency by      PRIOR TO RELEASE           and provide proof to Supervising Agency.      ■   In order to determine
       compliance, you agree to submit to a search of your person and property by Supervising Agency, which may be in conjunction
       with law enforcement.

       Do not use or possess any identification, mail matter, access device (including, but not limited to, credit and debit cards), or any
        identification-related material other than in your own legal or true name without prior permission from Supervising Agency.
              In order to determine compliance, you agree submit to a search of your person and property by Supervising Agency,
       which may be in conjunction with law enforcement.
       Do not engage in telemarketing.
   ■   Do not sell, transfer, or give away any asset valued at $ 5,000                            or more without notifying and obtaining
       permission from the Court, except *SEE "OTHER" section                                                                                 .
       Do not engage in tax preparation for others.
       Do not use alcohol.       Submit to alcohol testing. If directed to do so, participate in outpatient treatment as approved by Supervising
       Agency. Testing may include any form of prohibited-substance screening or testing. You must pay all or part of the costs for testing
       based upon your ability to pay as determined by Supervising Agency.
       Do not use or possess illegal drugs or state-authorized marijuana.        Submit to drug testing. Testing may include any form of
       prohibited-substance screening or testing. You must pay all or part of the costs for testing based upon your ability to pay as
       determined by Supervising Agency. If directed to do so, participate in outpatient treatment as approved by Supervising Agency.
              In order to determine compliance, you agree to submit to a search of your person and property by Supervising Agency, which may
       be in conjunction with law enforcement.
       Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or any street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
       Participate in residential substance abuse treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency.         Release to Supervising Agency only.
       Participate in mental health treatment, which may include evaluation, counseling, or treatment as directed by Supervising Agency.
       You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.



                                                                                  Defendant's Initials:                Date:
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                                                                   #:91
                                                  ■   Defendant          Material Witness

   ■   Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
       restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
       to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

       1. Location Monitoring Restrictions (Select One)

                Location Monitoring only - no residential restrictions

            ■   Curfew: Curfew requires you to remain at home during set time periods. (Select One)
                 ■   As directed by Supervising Agency; or
                     You are restricted to your residence every day from                                 to
                Home Detention: Home detention requires you to remain at home at all times except for employment, education,

                religious services, medical needs or treatment, attorney visits, court appearances and obligations, essential needs, and
                                                                      , all of which must be preapproved by the Supervising Agency.

                Home Incarceration: Home Incarceration requires you to be at home 24 hours a day except for medical needs or treatment,

                attorney visits, court appearances or obligations, and                                            , all of which must
                be preapproved by Supervising Agency.

       2. Location Monitoring Technology (Select One)

                Location Monitoring technology at the discretion of the Supervising Agency. (If checked, skip to 3)


            ■   Location Monitoring with an ankle monitor (Select one below)
                     at the discretion of the Supervising Agency or
                     Radio Frequency (RF) or
                 ■   Global Positioning System (GPS)

       or
                Location Monitoring without an ankle monitor (Select one below)

                     at the discretion of the Supervising Agency or
                     Virtual/Biometric (smartphone required to participate) or
                     Voice Recognition (landline required to participate)


       3. Location Monitoring Release Instructions (Select One)

            ■   Release to Supervising Agency only or        Enroll in the location monitoring program within 24 hours of release.


        You are placed in the third-party custody (Form CR-31) of                                                                              .
        Clear outstanding         warrants or    DMV and traffic violations and provide proof to Supervising Agency within              days
        of release from custody.


                                                                                     Defendant's Initials:               Date:
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                                                                 #:92
                                                ■   Defendant         Material Witness

   ■   Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
        and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed
        to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords,
        or passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view,
        obtain, store, or transmit digital data. ■ In order to determine compliance, you agree to submit to a search of your person and
        property, including digital devices, by Supervising Agency, which may be in conjunction with law enforcement.
   ■   All digital devices will be subject to monitoring by Supervising Agency. You must comply with the rules and regulations
        of the Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.
       Do not use or possess more than one virtual currency wallet/account, and that one wallet/account must be used for all virtual
        currency transactions. Do not obtain or open a virtual currency wallet/account without prior approval of Supervising Agency.
        You must disclose all virtual currency wallets/accounts to Supervising Agency when supervision starts and must make them available
        to Supervising Agency upon request. You may use or possess only open public blockchain virtual currencies and are prohibited from
        using private blockchain virtual currencies unless prior approval is obtained from Supervising Agency.          In order to determine
        compliance, you agree to submit to a search of your person and property, including computer hardware and software, which may
        be in conjunction with law enforcement.

   Cases Involving a Sex-Offense Allegation
       Possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging applications
        and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that you disclosed
        to Supervising Agency upon commencement of supervision. You must disclose any new devices, accounts, application, passwords, or
        passcodes to Supervising Agency prior to the first use. A digital device is any electronic system or device that can access, view, obtain,
        store, or transmit visual depictions of sexually explicit conduct involving children.      In order to determine compliance, you agree to
        submit to a search of your person and property, including digital devices, by Supervising Agency, which may be in conjunction with
        law enforcement.
       All digital devices will be subject to monitoring by Supervising Agency. You must comply with the rules and regulations
        of the Computer Monitoring Program and must pay the cost of the Computer Monitoring Program.
       Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person under the age of 18
        except in the presence of the parent or legal guardian of the minor after you have notified the parent or legal guardian of the
        pending charges or convictions involving a sex offense and only as authorized by Supervising Agency
       Do not enter or loiter within 100 feet of schoolyards, parks, public swimming pools, playgrounds, youth centers, video arcade
        facilities, amusement and theme parks, or other places frequented by persons under the age of 18 and only as authorized to do so
        by Supervising Agency.
       Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
        facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
       Do not view or possess child pornography or child erotica, including but not limited to pictures, photographs, books, writings,
       drawings, or videos depicting or describing child pornography.           In order to determine compliance, you agree to submit to a
       search of your person and property, including computer hardware and software, by Supervising Agency, which may be in conjunction
       with law enforcement..
                                                                                   Defendant's Initials:                Date:
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                                                                #:93
                                                  ■   Defendant         Material Witness


     ■   Other conditions:
          - Defendant is subject to all the General Conditions of Release, a copy of which defendant must request from Pretrial Services.
          - Sureties are to be provided with a copy of the bond conditions, which will be provided by defense counsel.
          - Avoid all contact, directly or indirectly (including by any electronic means) with Aspiration, including Joe Sanberg, Nate Redmond
          and any past or present employee or board member of Aspiration, and with any person that is directly involved in the charged
          conduct, including Riaz Karamali, except in the presence of counsel of record in this case.
          - Surrender any such firearm to a responsible third party and provide proof to Pretrial Services.
          - Do not sell, transfer, or give away any asset, or engage in any financial transaction valued at $5,000 or more, directly or indirectly,
          without notifying and obtaining prior approval of Pretrial Services, with the exception of payments of legal fees and costs, tax
          preparation fees, tax payments, utilities, rent, and other loans. Defendant also shall not sell, transfer, or give away a total of more
          than $30,000 per month without notifying and obtaining prior approval of Pretrial Services.
          - Additional properties:
          2.) 4476 West Ave 42, Los Angeles, CA 90065 signed by Nathalie Molina Nino and her mother, the trustee of the trust that owns the
          property for the amount of $200,000
          3.) 1672 Sandy Lily Dr., Golden, CO 80401 signed by Julie Preger for the amount of $250,000.
          4.) Property located outside state of California to be signed by responsible 3rd party approved by the government for the amount
          of $800,000.




                                                 GENERAL CONDITIONS OF RELEASE
    I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
    may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
    United States District Court to which I may be removed or to which the case may be transferred.

    I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
    direction in connection with such judgment as the Court may prescribe.

    I will immediately inform United States Probation and Pretrial Services and my counsel of any change in my contact information,
    including my residence and telephone number, including cell phone number, so that I may be reached at all times.

    I will not commit a federal, state, or local crime during the period of release. I will inform Supervising Agency of law enforcement
    contact within 72 hours of being arrested or questioned by a law enforcement officer.

    I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
    tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
    subject to further prosecution under the applicable statutes.

    I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.



                                                                                   Defendant's Initials:                Date:
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                                                                  #:94
                                                    ■   Defendant         Material Witness


                                     ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS
     As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
     Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
     judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
     forfeited.




     Date                                   Signature of Defendant / Material Witness                       Telephone Number




     City and State (DO NOT INCLUDE ZIP CODE)



         Check if interpreter is used: I have interpreted into the                                                    language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                           Date



     Approved:
                               United States District Judge / Magistrate Judge                         Date

     If cash deposited: Receipt #                                 for $


     (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                   Defendant's Initials:                Date:
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